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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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  JOSEPH JACKSON,

                                     Plaintiff,

                    -against-


  NASSAU COUNTY; THE INCORPORATED
  VILLAGE OF FREEPORT; DETECTIVE ROBERT
  DEMPSEY; DETECTIVE GARY
                                                                            ORDER
  ABBONDANDELO; DETECTIVE JOHN M.
  HOLLAND; DETECTIVE MICHAEL HERTS;
                                                                     CV 18-3007 (JS) (AKT)
  DETECTIVE MARTIN ALGER; POLICE OFFICER
  ROBERT MELENDEZ, DETECTIVE WALTER
  SWENSON, DETECTIVE ANTHONY KOSIER;
  DETECTIVE SERGEANT DAN SEVERIN; DORA
  MULLEN, AS ADMINISTRATOR OF THE
  ESTATE OF JERL MULLEN; JANE DOE, AS
  ADMINISTRATOR OF THE ESTATE OF ARTHUR
  ZIMMER, and JOHN and JANE DOE 1 through 20,

                                      Defendants.
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 A. KATHLEEN TOMLINSON, Magistrate Judge:

         The Court has reviewed the letter motion submitted by Defendants Nassau County,

 Robert Dempsey, Gary Abbondandelo, John M. Holland, Jerl Mullen, M. Herts, Anthony Kosier,

 Marin Alger, Daniel Severin, and Dora Mullen (“Defendants”) requesting that the Court “so

 order” an attached subpoena directed to non-party Fishkill Correctional Facility pursuant to

 Federal Rule of Civil Procedure (“Rule” or “Fed. R. Civ. P.”) 45 which seeks the production of

 “[a]ll Medical Records concerning Joseph N. Jackson, DIN # 97A2371, [a]ll records of visitation

 concerning Joseph N. Jackson, DIN #97A2371, [and] [a]ll underlying disciplinary files for

 disciplinary incidents involving Joseph N. Jackson, DIN #97A2371.” See DE 309. Plaintiff

 filed opposition to Defendants’ motion arguing that the motion should be stricken for including
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 Plaintiff’s personally identifying information, including his social security number and date of

 birth. See DE 310. Plaintiff also argued that the proposed subpoena seeks information which

 exceeds the scope of the discovery permitted under Rule 26(b). Id. at 2. Thereafter, Defendants

 filed a “reply” to Plaintiff’s opposition which simultaneously attempts to address Plaintiff’s

 opposition and resubmits a proposed subpoena with redactions of Plaintiff’s personally

 identifying information. See DE 311.

        That same day, the Court denied, without prejudice, Defendants’ letter motion [DE 309]

 and directed the Clerk’s Office to strike/remove the attachments to Defendants’ letter motion

 because it included Plaintiff’s personal identifying information in violation of the Eastern

 District of New York’s Local Rules. See June 18, 2020 Electronic Order. Defendants were

 directed to resubmit their motion once it complied with those Rules. Id. The next day, June 19,

 2020, Defendants submitted a Second Motion for a “so ordered” subpoena [DE 312] which

 resolved one problem with the subpoena but not others. The Court issued its June 18, 2020

 Electronic Order to deal with the time sensitive circumstances of Plaintiff’s personal information

 having been placed in the public record. However, the Court declines to “so order” the

 resubmitted subpoena as it is currently constituted for the reasons which follow.

        First, the Court denies Defendants’ request for “[a]ll underlying disciplinary files for

 disciplinary incidents involving [Plaintiff]” because the request suffers from overbreadth and is

 not proportional to the needs of the case. See Fed. R. Civ. P. 26(b)(1). The Court, however, will

 permit the production of disciplinary records for the five (5) year period immediately preceding

 the underlying incident alleged in the Complaint.




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        Second, the Court denies Defendants’ request for “[a]ll records of visitation concerning”

 the Plaintiff because such information is of marginal relevance, at best, and is not proportional to

 the needs of this case. Id.

        The Court will permit the Defendants to obtain Plaintiff’s medical records which are on

 file at Fishkill Correctional Facility. For the foregoing reasons, DE 312 is denied, but

 Defendants’ counsel will be permitted to submit a new subpoena modified to comply with the

 directives in this Order.

        Any resubmitted subpoena must be filed as a letter motion rather than a letter with

 attachments, as was the case with Defendants’ reply letter at DE 311. The Court further notes

 that Section III of this Court’s Individual Rules expressly precludes replies on letter motions.



                                                       SO ORDERED.

 Dated: Central Islip, New York
        June 22, 2020

                                                       /s/ A. Kathleen Tomlinson
                                                       A. KATHLEEN TOMLINSON
                                                       United States Magistrate Judge




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